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                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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        UNITED STATES OF AMERICA,                           CASE NO. CR09-5452RJB
11
                                Plaintiff,                  ORDER
12
                v.
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        CRESCENCIANO YANEZ-BUCIO,
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                                Defendant.
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            This matter comes before the court on defendant's Motion to Require FBOP to Apply my
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     True and Correct Name (Dkt. 924). The court requested and received the government's response
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     (Dkt. 926). The court is familiar with the records and files herein. It appears, under all the
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     circumstances, that it would be inappropriate for the court to require the Federal Bureau of
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     Prisons to take any action regarding the name of the defendant, and this court cannot legally
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     change his name. Under the circumstances presented, the defendant's motion must be denied.
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     ORDER- 1
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 1         Therefore, it is now

 2         ORDERED that defendant's Motion to Require FBOP to Apply my True and Correct

 3 Name (Dkt. 924) is hereby DENIED.

 4         The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 5 to any party appearing pro se at said party’s last known address.

 6         Dated this 7th day of March, 2011.



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                                         ROBERT J. BRYAN
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                                         United States District Judge
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     ORDER- 2
